           Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 1 of 21




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

JARROD STRINGER, et al.,                  §
     Plaintiffs,                          §
                                          §
v.                                        §                       NO. 5:16-CV-00257-OG
                                          §
ROLANDO PABLOS, et al.,                   §
      Defendants.                         §
_________________________________________ §
                                          §
JARROD STRINGER, et al.,                  §
      Plaintiffs,                         §
                                          §
v.                                        §                      No. SA-20-CV-46-OG
                                          §
RUTH R. HUGHS, et al.,                    §
      Defendants.                         §

                                DEFENDANTS’ MOTION TO DISMISS

          Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants

respectfully request that the Court dismiss the complaint filed by the Texas

Democratic Party (“TDP”), Democratic Senatorial Campaign Committee (“DSCC”),

and Democratic Congressional Campaign Committee (“DCCC”) (collectively,

“Democratic Party Intervenors”), Dkt. 137.

                                            BACKGROUND1

          The above-captioned matter is the consolidation of case No. SA-20-CV-46-OG,

(“Stringer II”), filed in 2020, and case No. SA-16-CV-257-OG, (“Stringer I”), filed in

2016. Stringer I was litigated to final judgment in this Court. On appeal from that

final judgment, the Fifth Circuit held that this Court lacked subject matter


1   The Court is familiar with the factual background, so Defendants do not reiterate it here.

                                                    1
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 2 of 21




jurisdiction and remanded with instructions to dismiss for lack of standing. Stringer

v. Whitley, 942 F.3d 715, 725 (5th Cir. 2019). After remand, the Democratic Party

Intervenors moved to intervene in Stringer I. Dkt. 124. Defendants opposed that

intervention. Dkt. 133. On January 21, 2020, this Court sua sponte consolidated

Stringer I and Stringer II, Dkt. 135, and granted the Motion to Intervene that the

Democratic Party Intervenors filed in Stringer I. Dkt. 136. This Court then dismissed

the Stringer I Plaintiffs’ claims from the newly consolidated case. Dkt. 139.

      The Democratic Party Intervenors allege that Texas “arbitrarily subject[s]

eligible voters to disparate voter registration standards” and has “denied voters an

equal opportunity to participate in federal and state elections in violation of Section

1 of the Fourteenth Amendment.” Dkt. 137, ¶ 33. They further allege that, “[a]s a

result of this disparate treatment, Intervenor-Plaintiffs were directly harmed in their

mission to elect Democratic representatives, and those among their membership

harmed through disenfranchisement.” Id. The cause of these alleged harms,

according to Plaintiffs, is Texas’s written-signature requirement for voter-

registration applications and changes to voter-registration addresses.

                            ARGUMENT AND AUTHORITY

      The Democratic Party Intervenors’ complaint should be dismissed for lack of

jurisdiction because the Court did not have authority to grant the motion to

intervene, and because the Intervenors fail to allege injury-in-fact to themselves or

to their members. They also lack statutory standing to bring an equal protection

claim. Even if they had standing, the Democratic Party Intervenors’ claim fails on the



                                          2
           Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 3 of 21




merits because they allege neither a discriminatory intent nor effect on an

identifiable political group, and because Texas’s written-signature requirement

applies equally to all voters.

I.        The Democratic Party Intervenors should be dismissed under Rule
          12(b)(1) for lack of jurisdiction.

          Federal Rule of Civil Procedure 12(b)(1) governs motions to dismiss for lack of

subject-matter jurisdiction. E.g., Hooks v. Landmark Indus., Inc., 797 F.3d 309, 312

(5th Cir. 2015)). “Subject-matter jurisdiction” refers to “the courts’ statutory or

constitutional power to adjudicate the case.” Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 89 (1998). Subject-matter jurisdiction is “a threshold issue that must be

resolved before any federal court reaches the merits of the case before it.” Perez v.

U.S., 312 F.3d 191, 194 (5th Cir. 2002); Steel Co. v. Citizens for a Better Env’t, 523

U.S. at 94-95.

          A. The Court lacked jurisdiction to allow the Democratic Party
             Intervenors to intervene in Stringer I.

          As explained in Defendants’ Response in Opposition to the Motion to Intervene,

Dkt. 133,2 once the Court of Appeals declared Stringer I jurisdictionally defective,

there ceased to be an existing suit within this Court’s jurisdiction in which to

intervene. Instead, Stringer I should have been dismissed and closed by this Court.

          It is well-settled that “[a]n existing suit within the court’s jurisdiction is a

prerequisite of an intervention.” Kendrick v. Kendrick, 16 F.2d 744, 745 (5th Cir.

1926), cert. denied, 273 U.S. 758 (1927) (denying intervention where court did not



2   Defendants re-urge and incorporate by reference Dkt. 133 as if fully set forth herein.

                                                     3
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 4 of 21




have jurisdiction over original lawsuit for lack of indispensable parties). Thus, “a

person may not intervene if the original, underlying case was jurisdictionally

defective.” Odle v. Flores, 899 F.3d 344, 348 (5th Cir. 2017) (citing Non Commissioned

Officers Ass’n v. Army Times Publ’g Co., 637 F.2d 372, 373 (5th Cir. 1981)); see also

id. (“‘[T]here is no right . . . to intervene in a [jurisdictionally] defective suit.’”)

(quoting Truvillion v. King’s Daughters Hosp., 614 F.2d 520, 526 (5th Cir. 1980)).

      Whether there is an existing suit within the court’s jurisdiction is assessed

based upon “when the motion to intervene was filed.” Krim v. PCOrder.com, 402 F.3d

489, 502 (5th Cir. 2005); see also id. (“The ‘prerequisite of an intervention’ that there

be ‘an existing suit within the Court’s jurisdiction’ depends here on the individual

claims. That none of the individual claims remained viable . . . when the motion to

intervene was filed, disposes of the attempt at intervention.”) (quoting Army Times

Publ’g Co., 637 F.2d at 373).

      When the Court of Appeals issued its mandate on December 5, 2019, there

ceased to be “an existing suit within the Court’s jurisdiction” because—at that point—

“none of the individual claims” upon which Plaintiffs invoked this Court’s jurisdiction

“remained viable.” E.g., Krim, 402 F.3d at 502; see also, e.g., Ericsson Inc. v.

InterDigital Commc’ns Corp., 418 F.3d 1217, 1222 (Fed. Cir. 2005) (rejecting the

argument that—because the district court retained jurisdiction to entertain a motion

for relief from final judgment under Rule 60(b)—there was “an existing suit within

the court’s jurisdiction” for purposes of intervention) (citing Kendrick, 16 F.2d at 745).




                                            4
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 5 of 21




      Thus, this Court lacked jurisdiction to grant the Motion to Intervene—both as

a jurisdictional matter and in accordance with the mandate rule. “Jurisdiction is

power to declare the law, and when it ceases to exist, the only function remaining to

the court is that of announcing the fact and dismissing the cause.” Steel Co. v. Citizens

for a Better Env’t, 523 U.S. at 94 (quoting Ex parte McCardle, 74 U.S. 506, 514 (1868)).

“Compliance with an order to relinquish jurisdiction necessarily precludes the lower

court from taking any further action other than dismissal, for to do so would involve

retaining jurisdiction.” Stamper v. Baskerville, 724 F.2d 1106, 1108 (4th Cir. 1984).

As the Fifth Circuit has explained, “[t]he mandate rule requires a district court on

remand to effect our mandate and to do nothing else.” Gen. Universal Sys., Inc. v.

HAL, Inc., 500 F.3d 444, 453 (5th Cir. 2007).

      The Democratic Party Intervenors’ claims should be dismissed because this

Court lacked jurisdiction to grant the motion to intervene.

      B. The Democratic Party Intervenors lack standing.

      Even if the Court had jurisdiction to grant the Motion to Intervene, the

Democratic Party Intervenors fail to allege facts which, if true, would establish their

standing. “[S]tanding is perhaps the most important of the jurisdictional doctrines.”

FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231 (1990) (internal quotation omitted).

To establish Article III standing, a plaintiff must show: (1) an actual or imminent,

concrete and particularized “injury-in-fact”; (2) that is fairly traceable to the

challenged action of the defendant (causation); and (3) that is likely to be redressed

by a favorable decision (redressability). Friends of the Earth, Inc. v. Laidlaw Envt’l.



                                           5
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 6 of 21




Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000). All three elements are “an

indispensable part of the plaintiff’s case” and each plaintiff bears the burden to

establish them. E.g., Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

      The Democratic Party Intervenors lack organizational standing because they

have not plead injury-in-fact. They similarly and lack associational standing to sue

on behalf of their members because they have not alleged injury-in-fact to individuals

among their membership, because they have not identified an interest germane to

their purpose, and because the claim asserted requires the participation of individual

members. Moreover, even if they had Article III standing, the Democratic Party

Intervenors’ case should still be dismissed because they lack statutory standing.

             1. Organizational Standing

      An organization has standing to sue if it satisfies the same Article III

requirements    of   injury-in-fact,   causation,   and   redressability   applicable   to

individuals. NAACP v. City of Kyle, Tex., 626 F.3d 233, 237 (5th Cir. 2010) (citing

Lujan, 504 U.S. at 560-61). “[A]n organization may establish injury in fact by showing

that it had diverted significant resources to counteract the defendant’s conduct;

hence, the defendant’s conduct significantly and ‘perceptibly impaired’ the

organization’s ability to” conduct its routine “‘activities—with the consequent drain

on the organization’s resources[.]’” Id. (quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 379 (1982)). “Not every diversion of resources to counteract [a] defendant’s

conduct, however, establishes an injury in fact.” Id. at 238. Rather, any “[s]uch injury

must be ‘concrete and demonstrable.’” Id.



                                            6
        Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 7 of 21




        Thus, to establish standing, “an organizational plaintiff must explain how the

activities it undertakes in response to the defendant’s conduct differ from its ‘routine

[] activities,’” and must “identify ‘specific projects that [it] had to put on hold or

otherwise curtail in order to respond to’ the defendant’s conduct.” Def. Distributed v.

United States Dep’t of State, No. 1:15-CV-372-RP, 2018 WL 3614221, at *4 (W.D. Tex.

July 27, 2018) (quoting City of Kyle, 626 F.3d at 238). See also, e.g., ACORN v. Fowler,

178 F.3d 350, 358 (5th Cir. 1999) (holding that organization’s expenditures must be

“caused by an[] action by” the defendant that the organization “claims is illegal, as

opposed to part of the normal, day-to-day operations of the group” to confer standing)

(citing Fair Hous. Council of Suburban Philadelphia v. Montgomery Newspapers, 141

F.3d 71, 78 & n.5 (3d Cir. 1998)).3

        The Democratic Party Intervenors do not meet this standard. TDP alleges that

            •   it “is the statewide organization representing Democratic candidates
                and voters throughout the State of Texas within the meaning of Section
                117 of Texas’s Election Code;”4

            •   its “purpose is to elect Democratic Party candidates to public office
                throughout Texas;” and

            •   its activities “include[] supporting Democratic Party candidates in
                national, state, and local elections through fundraising and organizing;
                protecting the legal rights of voters; and ensuring that all voters have a
                meaningful ability to cast ballots in Texas.”

Dkt. 137, ¶11.



3 See also, e.g., Advocacy Ctr. v. La. Tech Univ., No. CV 18-0934, 2019 WL 1303212, at *4 (W.D. La.
Mar. 6, 2019) (“[A]lthough an organization conceivably could have standing if it incurred [] costs [], the
organization still must show that it would not have incurred these costs in the absence of defendant’s
illegal conduct.”), report and recommendation adopted, 2019 WL 1301983 (W.D. La. Mar. 21, 2019)
(citing Fowler, 178 F.3d at 357-58).
4 Texas’s Election Code does not contain any “Section 117.” Accord, TEX. ELEC. CODE § 1.001, et seq.


                                                    7
        Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 8 of 21




       DSCC, for its part, asserts that

           •   it “is the national senatorial committee of the Democratic Party, as
               defined by 52 U.S.C. § 30101(14);”

           •   its mission is “to elect candidates of the Democratic Party to the United
               States Senate, including in Texas;”

           •   its activities include “assisting state parties throughout the country,
               including in Texas;”

           •   in 2020, it “expects to invest millions in support of the Democratic
               candidate selected as the nominee to run against Republican Senator
               John Cornyn;”

           •   “Texas’s conduct directly harms DSCC by frustrating its mission of, and
               efforts in, electing the Democratic Party candidate to the U.S. Senate in
               Texas by suppressing the access of eligible Texas citizens to the
               franchise;”

           •   it “is aware of Texas’s online portal system and will have to expend and
               divert additional funds and resources on ensuring that eligible citizens
               are not misled into believing that they have effectively registered to vote,
               and are in fact registered to vote, as well as to support GOTV, voter
               persuasion efforts, and other activities in Texas, at the expense of its
               other efforts to defeat Senator Cornyn, as well as its efforts in other
               states, to combat the effects of Texas’s conduct.”5

Dkt. 137, ¶12. DCCC makes essentially the same allegations with respect to

Congressional (as opposed to Senatorial) races. Dkt. 137, ¶13.

       Even if these allegations were true, they do not state that any Democratic

Party Intervenor “diverted significant resources to counteract the defendant’s

conduct” such that any “defendant’s conduct significantly and ‘perceptibly impaired’

the organization’s ability to” conduct its routine “‘activities—with the consequent




5 It is unclear what is meant by “Texas’s online portal system,” but for purposes of this motion,
Defendants assume the phrase refers to the process for renewing or changing the address on a Texas
driver license online.

                                                8
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 9 of 21




drain on the organization’s resources[.]’” City of Kyle, 626 F.3d at 237 (quoting Havens

Realty Corp., 455 U.S. at 379). Indeed, TDP does not allege diversion of any resources

at all to combat Defendants’ allegedly unlawful conduct. Cf. id.

      DSCC’s and DCCC’s cursory allegation of efforts to “combat the effects of

Texas’s conduct” also fails to establish injury-in-fact. As explained in City of Kyle,

“[n]ot every diversion of resources to counteract [a] defendant’s conduct [] establishes

an injury in fact.” 626 F.3d at 238 (quoting Havens Realty Corp., 455 U.S. at 379).

Rather, any “[s]uch injury must be ‘concrete and demonstrable.’” Id. And, plainly,

DSCC and DCCC do not state that they have “diverted significant resources to

counteract the [Defendants’] conduct” such that “the [Defendants’] conduct

significantly and ‘perceptibly impaired’ the organization’s ability to” engage in its

“routine activities,” as required to allege organizational standing. City of Kyle, 626

F.3d at 238.

      Instead, voter education and outreach are already central to these

organizations’ “routine activities.” Id.; Dkt. 137, ¶¶11-13. GOTV and voter-

engagement efforts that these entities would engage in regardless of Defendants’

allegedly unlawful conduct do not amount to “concrete and demonstrable” injury to

DSCC or DCCC. Havens Realty Corp., 455 U.S. at 379; City of Kyle, 626 F.3d at 238.

Put differently, neither DSCC nor DCCC claims that voter outreach efforts fall

outside the “normal, day-to-day operations of the group.” Cf. Fowler, 178 F.3d at 358.

None of the Democratic Party Intervenors has alleged injury-in-fact as required to

show standing.



                                           9
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 10 of 21




      The “injury-in-fact” element of standing “serves to distinguish a person with a

direct stake in the outcome of a litigation—even though small—from a person with a

mere interest in the problem.” United States v. Students Challenging Regulatory

Agency Procedures, 412 U.S. 669, 689 n.14 (1973). Because the Democratic Party

Intervenors have at most alleged that they are interested in the issues raised in

Stringer I, this Court should dismiss them from this case for failure to allege injury-

in-fact in their own right.

             2. Associational Standing

      Under the doctrine of associational standing, an association may have standing

to bring suit on behalf of its members when:

      [1] its members would otherwise have standing to sue in their own right;
      [2] the interests it seeks to protect are germane to the organization's
      purpose; and [3] neither the claim asserted nor the relief requested
      requires the participation of individual members in the lawsuit.

Nat'l Rifle Ass'n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives,

700 F.3d 185, 191 (5th Cir. 2012) (quoting Ass’n of Am. Physicians & Surgeons, Inc.

v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir.2010)) (citation omitted). The Democratic

Party Intervenors do not allege facts to establish any of these factors.

      As to the first prong, a plaintiff cannot have associational standing unless one

of its members would have standing to sue individually. See Hunt v. Wash. State

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977); Ctr. for Biological Diversity v. EPA,

937 F.3d 533, 536 (5th Cir. 2019). Thus, each intervenor must “identify members who

have suffered the requisite harm” for injury-in-fact. Summers v. Earth Island Inst.,

555 U.S. 488, 499 (2009); United Food & Comm. Workers Union Loc. 751 v. Brown

                                          10
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 11 of 21




Grp., Inc., 517 U.S. 544, 555 (1996) (An “association ‘can establish standing only as

representatives of those of their members who have been injured in fact, and thus

could have brought suit in their own right.’”) (quoting Simon v. E. Ky. Welfare Rights

Org., 426 U.S. 26, 40 (1976)).

       DSCC and DCCC do not allege the existence of specific members—let alone

specific members who would have standing in their own right. See Dkt. 137. Not

having members is fatal to associational standing. See Hunt, 432 U.S. at 344

(requiring “indicia of membership in an organization” for associational standing); City

of Olmsted Falls v. FAA, 292 F.3d 261, 267–68 (D.C. Cir. 2002). TDP does allege that

it “has millions of members and constituents from across Texas.” Dkt. 137, ¶11. It

further states that those members “include[] millions of Texans who are registered

with the Texas Department of State’s Division of Elections as Democrats, millions of

Texans who are drivers who interact with DPS, and many other Texans who regularly

support and vote for candidates affiliated with the Democratic Party.” Dkt. 137, ¶11.6

       But TDP’s failure to identify any member with specificity is fatal to its

associational standing. See, e.g., City of Kyle, 626 F.3d at 237 (requiring evidence of

“a specific member”); Ga. Republican Party v. SEC, 888 F.3d 1198, 1203 (11th Cir.

2018); Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2016) (dismissing under Rule 12(b)(1)

because plaintiff did not identify a member affected by the challenged regulation).

       And even if TDP had identified a specific member, it did not plead “a continuing

or threatened future injury” as required to establish standing here. Cf. Stringer v.


6Texas does not have a “Department of State,” and will presume for purposes of this Motion that TDP
refers to the Texas “Secretary of State.”

                                                11
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 12 of 21




Whitley, 942 F.3d at 721. As the Fifth Circuit explained in Stringer I, to establish

standing, a plaintiff “must demonstrate a sufficient probability that [they] will use”

the challenged “driver’s license services again.” Id. at 722. Where “Plaintiffs do not

point to any Plaintiff-specific evidence suggesting that they will become unregistered

and eligible to renew their driver’s licenses using the DPS System,” they “have not

established a substantial risk that they will attempt to update their voter

registrations using the DPS System and be injured by their inability to do so.” Id. at

723. “As a result,” such “Plaintiffs have not established an injury in fact sufficient to

confer standing to pursue the declaratory and injunctive relief that they seek.” Id.

      To be sure, Stringer v. Whitley was an appeal from cross-motions for summary

judgment after the development of a record. But even at the pleading stage, a litigant

must at least allege facts which would demonstrate standing if true. E.g., Lujan, 504

U.S. at 561. And here, TDP merely alleges having members who “interact with DPS.”

Thus, even if all their factual allegations were proven, they still could not “establish[]

a substantial risk that” any member “will attempt to update their voter registrations

using the DPS System and be injured by their inability to do so.” Id. at 723.

      The Democratic Party Intervenors also fail the second prong of the

associational standing analysis, as they have not identified any interest germane to

their purpose that is to be served by this litigation. While their missions are to elect

Democratic candidates, this lawsuit seeks to compel Texas to register voters and

update existing registrations absent a written, signed request from the voter.

Compare Dkt. 137 at 10-11 (“Prayer for Relief”) with Dkt. 137 ¶¶11-13. Despite the



                                           12
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 13 of 21




fact that “[t]he germaneness requirement is ‘undemanding’ and requires ‘mere

pertinence’ between the litigation at issue and the organization’s purpose,” at least

that pertinence is still required. Ass’n of Am. Physicians & Surgeons, Inc. v. Tex. Med.

Bd., 627 F.3d at 551 n. 2. The records of all voters (regardless of political affiliation)

who move between Texas counties and transact with DPS online is not “pertinent” to

the Democratic Party Intervenors’ specific mission to elect Democratic candidates.

      The Democratic Party Intervenors also fail the third prong, because the

participation of individual members is required to obtain the relief they request. It is

not enough to allege the existence of members eligible to transact with DPS online.

They still must bring a claim that is “not particular to any individual” and “thus

properly resolved in a group context.” Gulf Restoration Network, Inc. v. Salazar, 683

F.3d 158, 168 (5th Cir. 2012). They cannot do so where, as here, individual voter

registrations are at the heart of their challenge. Cf., e.g., Church of Scientology v.

Cazares, 638 F.2d 1272, 1276-80 (5th Cir. 1981) (individual participation not required

where “the claim asserted and the relief requested affect the membership as a

whole”); Familias Unidas v. Briscoe, 619 F.2d 391, 398 n. 2 (5th Cir. 1980) (“the

declaratory relief sought, inuring as it would to the benefit of all members, is ideally

suited to allowing ‘associational standing.’”) (citation omitted).

             3. Statutory Standing

      Even if the Democratic Party Intervenors had Article III standing, they would

still lack statutory standing. See Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 128 n.4 (2014) (explaining statutory standing). Section 1983



                                           13
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 14 of 21




provides a cause of action only when the plaintiff suffers “the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws.” 42 U.S.C.

§ 1983. It does not provide a cause of action to plaintiffs claiming an injury based on

the violation of a third party’s rights. See Coon v. Ledbetter, 780 F.2d 1158, 1160 (5th

Cir. 1986) (“[L]ike all persons who claim a deprivation of constitutional rights,

[plaintiffs] were required to prove some violation of their personal rights.”); David P.

Currie, Misunderstanding Standing, 1981 Sup. Ct. Rev. 41, 45.

       Thus, § 1983 follows the general rule that a plaintiff “must assert [her] own

legal rights and interests, and cannot rest [her] claim to relief on the legal rights or

interests of third parties.” Danos v. Jones, 652 F.3d 577, 582 (5th Cir. 2011) (quoting

Warth v. Seldin, 422 U.S. 490, 499 (1975)) (alterations original). When “[t]he alleged

rights at issue” belong to a third party, rather than the plaintiff, the plaintiff lacks

statutory standing, regardless of Article III standing. Id.; see also Conn v. Gabbert,

526 U.S. 286, 292–93 (1999) (holding that lawyer “clearly had no standing” to bring

§ 1983 claim for injury suffered as a result of “the alleged infringement of the rights

of his client” because a plaintiff “generally must assert his own legal rights and

interests, and cannot rest his claim to relief on the legal rights or interests of third

parties.”)

       The Democratic Party Intervenors assert an equal protection claim in the

context of voter registration. But, as artificial entities, the TDP, DCCC, and DSCC do

not have voting rights. “It goes without saying that political parties, although the

principal players in the political process, do not have the right to vote.” Vieth v.



                                          14
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 15 of 21




Pennsylvania, 188 F. Supp. 2d 532, 546 (M.D. Pa. 2002); see also Concerned Home

Care Providers, Inc. v. Cuomo, 783 F.3d 77, 91 (2d Cir. 2015) (“But Plaintiffs—five

corporations and a not-for-profit trade organization—are not entitled to vote and have

no right to equal representation in the legislature.”) The Democratic Party

Intervenors are necessarily asserting the rights of third parties, and lack statutory

standing to sue under § 1983.

II.   The Democratic Party Intervenors should be dismissed under Rule
      12(b)(6) for failure to state a cognizable Equal Protection claim.

      Federal Rule of Civil Procedure 12(b)(6) “authorizes a court to dismiss a claim

on the basis of a dispositive issue of law.” Neitzke v. William, 490 U.S. 319, 326 (1989)

(citations omitted). “This procedure, operating on the assumption that the factual

allegations in the complaint are true, streamlines litigation by dispensing with

needless discovery and factfinding.” Id. at 326-27. Thus, the issue under Rule 12(b)(6)

is whether the Complaint alleges “enough facts to state a claim to relief that is

plausible on its face,” assuming that the allegations are true. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). Notably, “[t]he tenet that a court must accept as

true all of the allegations contained in a complaint is inapplicable to legal

conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v.

Twombly, 550 U.S. at 555).

      None of the Democratic Party Intervenors alleges a violation of the NVRA. See

Dkt. 137. Instead, they allege a violation of the Equal Protection Clause. As set forth

supra, none has standing to pursue such a claim in its own right or as an association




                                           15
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 16 of 21




representing its members. But even if standing could be established, the Democratic

Party Intervenors’ equal protection claim would fail on the merits.

      A.   Democratic Party Intervenors

      Texas’s handling of online transactions with DPS does not violate the Equal

Protection Clause with respect to the Democratic Party Intervenors. An equal

protection claim involving voting rights requires allegation of “intentional

discrimination against an identifiable political group and an actual discriminatory

effect on that group.” Republican Party of N.C. v. Martin, 980 F.2d 943, 955 (4th Cir.

1992) (citation omitted); see also, e.g., Veasey v. Abbott, 830 F.3d 216, 230 (5th Cir.

2016) (en banc) (stating that “[p]roof of racially discriminatory intent or purpose is

required to show a violation of the Equal Protection Clause”) (quoting Village of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977)). The

Democratic Party Intervenors have not plausibly alleged intentional or purposeful

discrimination in which one class is favored over another.

      Statutes providing neutral rules, which might benefit any political party, are

not rendered discriminatory by the fact that they benefit one party when applied in

particular circumstances. See Rodriguez v. Popular Democratic Party, 457 U.S. 1, 10

n.10 (1982) (holding that “a statute providing that all such vacancies [in the

legislature] be filled by appointment does not have a special impact on any discrete

group of voters or candidates” and thus is not discriminatory for equal-protection

purposes). Here, the Democratic Party Intervenors do not even allege that Texas’s

handling of online driver license renewal and change of address transactions



                                          16
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 17 of 21




disproportionately impacts them. And they certainly do not allege that it is the result

of “intentional discrimination” against Democrats. Cf. Republican Party of N.C. v.

Martin, 980 F.2d at 955.

      The Democratic Party Intervenors fail to state an equal protection claim.

      B.   Individual Voters

      Consideration of the equal protection rights of individual voters would require

associational standing, which the Democratic Party Intervenors have not alleged. See

supra, Part I(B)(2). But even if they had, Texas’s handling of online driver license

renewal and change of address transactions does not violate any individual’s right to

equal protection. This is because Texas’s written-signature requirement for new

voter-registration   applications    and   requests    to   update    voter-registration

information—which prevents online voter-registration transactions—applies equally

to everyone and does not impose an unconstitutional burden on the right to vote. See

TEX. ELEC. CODE §§ 13.002(b), 15.021(a), (d); see also id. § 20.066(a)(1).

      In evaluating an alleged burden on voting rights, the Anderson/Burdick test

requires the Court to “first consider the character and magnitude of the asserted

injury to the rights protected by the First and Fourteenth Amendments that the

plaintiff seeks to vindicate.” Voting for Am., Inc. v. Steen, 732 F.3d 382, 387 (5th Cir.

2013) (quoting Anderson, 460 U.S. at 789). Then, the Court “must identify and

evaluate the precise interest put forward by the State as justifications for the burden

imposed by its rule.” Id. (quoting Anderson, 460 U.S. at 789). Finally, the Court

weighs the “character and magnitude of the asserted in-jury” against the “precise



                                           17
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 18 of 21




interests put forward by the State,” taking into consideration “the extent to which

those interests make it necessary to burden the plaintiff’s rights.” Id. at 387-88

(quoting Burdick, 504 U.S. at 434). When a state election law provision imposes only

“reasonable, nondiscriminatory restrictions” upon the First and Fourteenth

Amendment rights of voters, “the state’s important regulatory interests are generally

sufficient to justify” the restrictions. Anderson, 460 U.S. at 788.

      As to the “character and magnitude of the asserted injury to the rights

protected by the First and Fourteenth Amendments” at issue, Democratic Party

Intervenors assert that individuals who choose to use DPS’s online system are

burdened because—unlike individuals who choose to interact with DPS in person or

by mail—online users cannot simply check a box to become registered to vote or

change their registration address. See generally Dkt. 137. Instead, individuals using

DPS’s online system must print out a voter-registration form, fill it out, sign it, and

mail it, which satisfies Texas’s written-signature requirement.

      Texans can register to vote in several ways: in person, by mail, or by fax. TEX.

ELEC. CODE § 13.002(a). Texas law also permits voter registration in conjunction with

a driver’s license transaction (either in person or by mail). But because of Texas’s

written signature requirement, id. § 13.002(b), Texas has never permitted online

voter registration.

      Being treated like everyone else—making a written, signed request to register

to vote or update voter-registration information—does not burden any individual’s

right to equal protection. If an individual desires the simplicity of checking a single



                                           18
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 19 of 21




box, they may fill out a paper registration form. Stated differently, providing multiple

options for individuals to register to vote is not a violation of the Equal Protection

Clause even if the Democratic Party Intervenors consider some options to be less

convenient than others.

      The interests of the State in requiring written signatures, which necessarily

forecloses online registration, include maintaining accurate voting rolls and

combatting fraud. It cannot be debated that States have an interest in requiring a

signature from voters. See, e.g., 52 U.S.C. § 20504(c). And Texas can use written

signatures in cases of fraud, identity theft, and consideration of absentee ballots. See,

e.g. Husted v. A. Philip Randolph Inst., 138 S. Ct. 1833, 1838 (2018) (“It has been

estimated that 24 million voter registrations in the United States—about one in

eight—are either invalid or significantly inaccurate.”) (citation omitted).

      The Fifth Circuit has also recognized that preventing voter-registration fraud

is a permissible state interest that warrants some limits on voter registration. Voting

for Am., 732 F.3d at 394-95. It is not necessary for Defendants to produce specific

evidence of fraud to justify preventative measures. Id. (citing Crawford v. Marion

Cty. Election Bd., 553 U.S. 181, 196 (2008) (plurality op.)); see Short v. Brown, 893

F.3d 671, 679 (9th Cir. 2018) (finding “general interest in increasing voter turnout”

sufficient to justify experimental use of mail-in ballots in specific counties); Tripp v.

Scholz, 872 F.3d 857, 866 (7th Cir. 2017) (finding “speculative concern” sufficient to

justify ballot-access limitation); Ohio Democratic Party v. Husted, 834 F.3d 620, 632

(6th Cir. 2016) (holding that when a regulation is “not unduly burdensome,” a State



                                           19
       Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 20 of 21




does not have to “prove” that evidence supports its interest; the court may defer to

the legislature’s findings); cf. Husted, 138 S. Ct. at 1847 (cautioning that compliance

with the NVRA did not require the State to make “a wise policy judgment” or “have

some particular quantum of evidence of a change of residence” before taking steps to

verify a voter’s address); Munro v. Socialist Workers Party, 479 U.S. 189, 195 (1986)

(“Legislatures . . . should be permitted to respond to potential deficiencies in the

electoral process with foresight rather than reactively . . . .”).

       A State may act to prevent potential fraud, as “[a]ny corruption in voter

registration affects a state’s paramount obligation to ensure the integrity of the

voting process and threatens the public’s right to democratic government.” Voting for

Am., 732 F.3d at 394. Balancing individual voter equal-protection rights against the

State’s interests reveals no unconstitutional burden on the right to vote. The State

has provided several options to register to vote, all of which satisfy the State’s

written-signature requirement. Whether to permit online registration is a

quintessentially state-law function, absent a preemptive federal law requiring it. U.S.

CONST. art. I, § 4, cl. 1. No such law exists. The Equal Protection Clause does not

require what the Democratic Party Intervenors demand, and no individual’s right to

vote is unconstitutionally burdened by Texas’s written-signature requirement for

voter registration.




                                            20
      Case 5:16-cv-00257-OLG Document 167 Filed 02/11/20 Page 21 of 21




                              CONCLUSION & PRAYER

      The Democratic Party Intervenors’ complaint should be dismissed for lack of

jurisdiction and for failure to state a claim on which relief may be granted.

                                        Respectfully submitted,

                                        KEN PAXTON
                                        Attorney General of Texas

                                        JEFFREY C. MATEER
                                        First Assistant Attorney General

                                        DARREN L. MCCARTY
                                        Deputy Attorney General for Civil Litigation

                                        THOMAS A. ALBRIGHT
                                        Chief for General Litigation Division

                                        /s/Anne Marie Mackin
                                        ANNE MARIE MACKIN
                                        Texas Bar No. 24078898
                                        CHRISTOPHER D. HILTON
                                        Texas Bar. No. 24087727
                                        Assistant Attorneys General
                                        P.O. Box 12548, Capitol Station
                                        Austin, Texas 78711-2548
                                        (512) 463-2798 | FAX: (512) 320-0667
                                        anna.mackin@oag.texas.gov
                                        christopher.hilton@oag.texas.gov

                                        ATTORNEYS FOR DEFENDANTS

                               CERTIFICATE OF SERVICE

       I certify that on February 11, 2020, the foregoing instrument was filed
electronically via the Court’s CM/ECF system causing electronic service upon all
counsel of record.

                                        /s/Anne Marie Mackin
                                        ANNE MARIE MACKIN
                                        Assistant Attorney General



                                          21
